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                                        December 5, 2017

Via CM/ECF

Honorable Denise L. Cote
United States District Court
Southern District of New York
500 Pearl Street, Room 1610
New York, NY 10007

       Re:     Alpine Securities Corporation adv. United States Securities and Exchange Comm.
               Civil No. 1:17-cv-04179-DLC-RLE

              JOINT LETTER MOTION REQUESTING REDACTION
         FROM OFFICIAL TRANSCRIPT NOVEMBER 2, 2017 CONFERENCE

Dear Judge Cote:

        This letter is being jointly filed by Plaintiff Securities and Exchange Commission
(“SEC”) and Defendant Alpine Securities Corporation (“Alpine”) to request redactions from the
Official Transcript from the Conference held on November 2, 2017, in accordance with the
Court’s minute entry on November 21, 2017 (Dkt. No. 61). The subject transcript contains
discussion regarding Suspicious Activity Reports (“SARs”), including information regarding
individuals or entities which are the subjects of the SARs. The SARs discussed at the conference
were filed with the Court under seal (Dkt. No. 53).

       Good cause exists to redact any information indicating the existence of a SAR, or which
could contain identifying information regarding the subject of a SAR, because of the strict
confidentiality provisions applicable to SARs under the Bank Secrecy Act (“BSA”), 31 U.S.C.
§§ 5311-5330, and its implementing regulations. Specifically, 31 U.S.C. § 5318(g)(2) of the
BSA generally precludes both “financial institutions” and governmental entities from disclosing
“to any person involved in the transaction that the transaction has been reported.” 31 U.S.C. §
5318(g)(2)(i)-(ii).

       Additionally, 31 C.F.R. § 1023.320(e), addressing Reports by Brokers or Dealers of
Suspicious Transactions, states that “[a] SAR, and any information that would reveal the
existence of a SAR, are confidential . . . .” 31 C.F.R. § 1023.320. As a result, subject to certain
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exceptions, “broker-dealers” are generally prohibited from “disclos[ing] a SAR or any
information that would reveal the existence of a SAR.” Id. §1023.320(e)(1). Governmental
authorities similarly “shall not disclose a SAR, or any information that would reveal the
existence of a SAR except as necessary to fulfill official duties consistent with Title II of the
Bank Secrecy Act.” Id. § 1023.320(e)(2). Based on these, and other strict confidentiality
provisions in the BSA, courts have held that “‘SARs are confidential and subject to an
unqualified discovery and evidentiary privilege that courts have held cannot be waived.’ ” S.E.C.
v. Yorkville Advisors, LLC, 300 F.R.D. 152, 167 (S.D.N.Y. 2014) (further quotations omitted)
(citations omitted).

        Attached hereto as Exhibit A, is a copy of the November 2, 2017 Official Transcript with
redactions in accordance with the confidentiality requirements of the BSA and its implementing
regulations. The parties jointly request that the Court redact the subject transcript in accordance
with Exhibit A.

                                             Respectfully submitted,

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cc: Counsel of Record (via CM/ECF)
